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                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
                                                CRIMINAL MINUTES - GENERAL




 Case No.          SACR 19-61-JVS                                                              Date    June 1, 2020


 Present: The Honorable        JAMES V. SELNA, U.S. DISTRICT COURT JUDGE
 Interpreter

                Lisa Bredahl                       Sharon Seffens                         Julian Andre/Brett Sagel
            Deputy Clerk                       Court Reporter/Recorder                     Assistant U.S. Attorney


                 U.S.A. v. Defendant(s):          Present Cust. Bond         Attorneys for Defendants:        Present App. Ret.

Michael John Avenatti                               X           X       Dean Steward                               X              X



 Proceedings:        TELEPHONIC STATUS CONFERENCE


      Cause is called for hearing telephonically with the defendant, his counsel, and counsel for
the Government present. The Court makes findings on the need for a telephonic hearing and the
access to the public, (the teleconference information being available on the Court’s public
calendar.)

        By close of business on June 5, 2020 counsel shall file a brief re a computer for the
defendant and shall be accomplished by June 8, 2020. The same report shall include providing
remote access to the IRS terminal. Each party shall separately file by the same date a brief as to
the effect of a party having but failing to apply resources in terms of a speedy trial and other
rights.

       The Court continues the Jury Trial from August 18, 2020 to December 8, 2020 at
8:30 a.m. The Pretrial Conference/Motions hearing date set for July 6, 2020 to November 23,
2020 at 8:00 a.m. All deadlines are continued to conform to the above trial date. Counsel shall
filed a stipulation and proposed order regarding the speedy trial waiver and dates and deadlines
by June 8, 2020.

         A Further Status Conference is set for June 8, 2020 at 9:00 a.m.

                                                                                                               :       30

                                                                    Initials of Deputy Clerk     lmb



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